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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEBRASKA

                                         )
In re:                                   ) Chapter 11
                                         )
SPECIALTY RETAIL SHOPS HOLDING CORP., et ) Case No. 19-80064-TLS
al., 1
                                         )
               Debtors.                  ) (Jointly Administered)
                                         )

                          NOTICE OF ADDITIONAL STORE CLOSINGS

        PLEASE TAKE NOTICE that on February 8, 2019, the United States Bankruptcy Court

for the District of Nebraska (the “Court”) entered a final order (the “Store-Closing Order”) in the

above-referenced chapter 11 cases of Specialty Retail Shops Holding Corp. and its affiliated

debtors (collectively, the “Debtors”) 1, establishing procedures (the “Procedures”) for the conduct

of Store Closings. 2 (Doc. 369).

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Store-Closing Order and by

this written notice (this “Store-Closing Notice”), the Debtors hereby provide notice that they have

determined, in the exercise of their business judgment, to commence Store Closings, in accordance

with the Sale Guidelines, for each Additional Closing Store set forth in as Exhibit A, attached

hereto (the “Additional Store Closing List”).

        PLEASE TAKE FURTHER NOTICE that parties seeking to object to the Additional

Closing Stores listed in the Additional Closing Store List must file and serve a written objection



1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
    Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained
    R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding
    Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing,
    LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
    (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.

2
    Capitalized terms not defined herein have the meanings ascribed to them in the Store-Closing Order.
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so that such objection is filed with the Court and is actually received via first class mail, email,

ECF, or fax no later than seven days after the date that the Debtors served this Store-Closing

Notice, by the following parties: (a) Kirkland & Ellis LLP, 601 Lexington Avenue, New York,

New York 10022, Attn: Steven Serajeddini and Daniel Rudewicz, and Kirkland & Ellis LLP, 300

North LaSalle Street, Chicago, Illinois 60654, Attn: Travis Bayer and Whitney Fogelberg, and

McGrath North Mullin & Kratz, P.C. LLO, First National Tower, Suite 3700, 1601 Dodge Street,

Omaha, Nebraska 68102, Attn: James J. Niemeier, Michael T. Eversden, and Lauren R.

Goodman, co-counsel to the Debtors; (b) the Office of the United States Trustee for the District of

Nebraska, Attn: Jerry Jensen; (c) Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica Blvd.,

13th Floor, Los Angeles, California 90067, Attn: Jeffrey Pomerantz, Esq., counsel to the Official

Committee of Unsecured Creditors; (d) counsel to Wells Fargo Bank, N.A., Otterbourg P.C., 230

Park Avenue, New York, New York 10169, Attn: Chad Simon, Esq. and Daniel Fiorillo, Esq.; and

(e) counsel to Shopko Note Holding, LLC successor to Spirit Realty L.P., Fried, Frank, Harris,

Shriver & Jacobson LLP, One New York Plaza, New York, New York 10004, Attn: Peter Siroka.

        PLEASE TAKE FURTHER NOTICE that, absent an objection being timely filed, the

Debtors are authorized to proceed with conducting the proposed Store Closings at each of the

locations set forth in the Additional Closing Store List, in accordance with the Store-Closing

Order, the Sale Guidelines, and the Consulting Agreement.

        PLEASE TAKE FURTHER NOTICE that if an objection to an Additional Closing Store

is timely filed and not withdrawn or resolved, the Debtors shall file a notice for a hearing to

consider the objection for the Additional Closing Store as to which such objection relates 3 at the




3
    An objection to a particular Additional Closing Store on the Additional Closing Store List shall not constitute an
    objection to the other Additional Closing Stores listed on Exhibit A.

                                                         2
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next regularly scheduled omnibus hearing, subject to the right of any party to seek relief on an

emergency basis on shortened notice, to the extent necessary, so that the Debtors may move

promptly to maximize value and minimize expenses for the benefit of creditors and stakeholders.

Dated: March 18, 2019            /s/ Lauren R. Goodman
 Omaha, Nebraska                 James J. Niemeier (NE Bar No. 18838)
                                 Michael T. Eversden (NE Bar No. 21941)
                                 Lauren R. Goodman (NE Bar No. 24645)
                                 MCGRATH NORTH MULLIN & KRATZ, P.C. LLO
                                 First National Tower, Suite 3700
                                 1601 Dodge Street
                                 Omaha, Nebraska 68102
                                 Telephone:      (402) 341-3070
                                 Facsimile:      (402) 341-0216
                                 Email:          jniemeier@mcgrathnorth.com
                                                 meversden@mcgrathnorth.com
                                                 lgoodman@mcgrathnorth.com
                                 - and -
                                 James H.M. Sprayregen, P.C.
                                 Patrick J. Nash, Jr., P.C. (pro hac vice pending)
                                 Travis M. Bayer (pro hac vice pending)
                                 Whitney Fogelberg (pro hac vice pending)
                                 KIRKLAND & ELLIS LLP
                                 KIRKLAND & ELLIS INTERNATIONAL LLP
                                 300 North LaSalle
                                 Chicago, Illinois 60654
                                 Telephone:       (312) 862-2000
                                 Facsimile:       (312) 862-2200
                                 Email:           james.sprayregen@kirkland.com
                                                  patrick.nash@kirkland.com
                                                  travis.bayer@kirkland.com
                                                  whitney.fogelberg@kirkland.com
                                 - and -
                                 Steven Serajeddini (pro hac vice pending)
                                 Daniel Rudewicz (pro hac vice pending)
                                 KIRKLAND & ELLIS LLP
                                 KIRKLAND & ELLIS INTERNATIONAL LLP
                                 601 Lexington Avenue
                                 New York, New York 10022
                                 Telephone:     (212) 446-4800
                                 Facsimile:     (212) 446-4900
                                 Email:         steven.serajeddini@kirkland.com
                                                daniel.rudewicz@kirkland.com

                                               3
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                              Co-Counsel to the Debtors




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                                         Exhibit A

                              Additional Store Closing List

       Store Street Address       City                State Zip     Expected
       #                                                            Close Date


       2     301 BAY PARK         ASHWAUBENON WI              54304 6/16/2019
             SQUARE

       4     2430 EAST            GREEN BAY           WI      54302 6/16/2019
             MASON

       7     4344 MORMON          LA CROSSE           WI      54601 6/16/2019
             COULEE RD

       8     1105 E. GRAND        ROTHSCHILD          WI      54474 6/16/2019
             AVE.

       9     1306 N.              MARSHFIELD          WI      54449 6/16/2019
             CENTRAL AV

       11    500 S.               KINGSFORD           MI      49802 6/16/2019
             CARPENTER
             AVE

       12    1100 EAST            WISCONSIN           WI      54494 6/16/2019
             RIVERVIEW            RAPIDS
             EXPRESSWAY

       14    822 PARK AVE         BEAVER DAM          WI      53916 6/16/2019

       15    1000 WEST            APPLETON            WI      54914 6/16/2019
             NORTHLAND
             AVE

       17    4161 SECOND          ST CLOUD            MN      56301 6/16/2019
             STREET SOUTH

       21    1850 E               MANKATO             MN      56001 6/16/2019
             MADISON AVE.

       22    1900 N. MAIN         MITCHELL            SD      57301 6/16/2019
             STREET




                                            1
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       24    955 W               EAU CLAIRE        WI    54701 6/16/2019
             CLAIREMONT
             AVE.

       25    1200 SUSAN          MARSHALL          MN    56258 6/16/2019
             DRIVE

       30    2500 E US HWY       JANESVILLE        WI    53545 6/16/2019
             14

       36    3708 HWY 63         ROCHESTER         MN    55906 6/16/2019
             NORTH

       37    2677 S PRAIRIE      CHIPPEWA          WI    54729 6/16/2019
             VIEW ROAD           FALLS

       38    2208 NORTH          GRAND ISLAND      NE    68803 6/16/2019
             WEBB RD

       40    3025                SIOUX CITY        IA    51104 6/16/2019
             HAMILTON
             BLVD

       42    1300 S              OSHKOSH           WI    54902 6/16/2019
             KOELLER
             ROAD

       50    616 WEST            FOND DU LAC       WI    54935 6/16/2019
             JOHNSON
             STREET

       51    1425                FORT              WI    53538 6/16/2019
             JANESVILLE          ATKINSON
             AVE

       52    615 SOUTH           MASON CITY        IA    50401 6/16/2019
             MONROE AVE.

       53    510 EAST            NORTH PLATTE      NE    69101 6/16/2019
             PHILIP AVE.

       54    700 9TH             WATERTOWN         SD    57201 6/16/2019
             AVENUE SE

       56    14445 WEST          OMAHA             NE    68144 6/16/2019
             CENTER ROAD



                                         2
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       57    405                 WINONA            MN    55987 6/16/2019
             COTTONWOOD
             DR

       59    1001 HIGHWAY        FAIRMONT          MN    56031 6/16/2019
             15 SOUTH

       68    800 EAST 17TH       IDAHO FALLS       ID    83404 6/16/2019
             STREET

       69    217 W.       COEUR D'                 ID    83814 6/16/2019
             IRONWOOD DR. ALENE

       72    2120 THAIN          LEWISTON          ID    83501 6/16/2019
             GRADE

       75    2510 SOUTH          MISSOULA          MT    59801 6/16/2019
             RESERVE
             STREET

       79    200 SOUTH           WAUSAU            WI    54401 6/16/2019
             18TH AVE

       99    9366 STATE          ONALASKA          WI    54650 6/16/2019
             HIGHWAY 16

       106   905 SOUTH 24        BILLINGS          MT    59102 6/16/2019
             WEST

       112   3101 N      HELENA                    MT    59602 6/16/2019
             MONTANA AVE

       114   801 WEST            DULUTH            MN    55811 6/16/2019
             CENTRAL
             ENTRANCE

       119   1350 NORTH          DIXON             IL    61021 6/16/2019
             GALENA
             AVENUE

       120   405 W. EIGHTH       MONROE            WI    53566 6/16/2019
             STREET

       125   555 WEST            FREEPORT          IL    61032 6/16/2019
             SOUTH STREET




                                         3
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       128   1370 US HWY 2       KALISPELL         MT    59901 6/16/2019
             EAST

       130   1777 PAULSON        RIVER FALLS       WI    54022 6/16/2019
             ROAD

       132   320 S. ACCESS       RICE LAKE         WI    54868 6/16/2019
             ROAD

       133   1400 BIG            BELVIDERE         IL    61008 6/16/2019
             THUNDER
             BLVD

       139   3200                QUINCY            IL    62301 6/16/2019
             BROADWAY

       140   1964 W.             JACKSONVILLE      IL    62650 6/16/2019
             MORTON AVE.

       164   255 JOHN F          DUBUQUE           IA    52002 6/16/2019
             KENNEDY RD

       177   2320 LINEVILLE SUAMICO                WI    54313 6/16/2019
             ROAD

       179   5630 ST. CROIX      NORTH             MN    55056 6/16/2019
             TRAIL               BRANCH

       207   67 SELKIRK          OLDTOWN           ID    83822 6/16/2019
             WAY

       523   525 E HWY 20        VALENTINE         NE    69201 6/16/2019

       526   679 S               AFTON             WY    83110 6/16/2019
             WASHINGTON
             STREET

       532   102 COLLEGE         NEW TOWN          ND    58763 6/16/2019
             DRIVE

       544   500 N CENTRAL       SIDNEY            MT    59270 6/16/2019
             AVE

       545   2008 WEST           MOBRIDGE          SD    57601 6/16/2019
             HIGHWAY 12




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       547   4791 COUNTY         MOOSE LAKE        MN    55767 6/16/2019
             ROAD 10

       550   100 E HELENA        DILLON            MT    59725 6/16/2019
             STREET

       562   702 WESTVIEW        STANLEY           ND    58784 6/16/2019
             LANE

       602   126 CHARLES         OCONTO            WI    54153 6/16/2019
             STREET

       604   1011 E. SPRUCE      ABBOTSFORD        WI    54405 6/16/2019
             ST.

       605   340 S. HWY 65       MORA              MN    55051 6/16/2019

       610   650 US HWY 41       ISHPEMING         MI    49849 6/16/2019
             WEST

       615   291 S. MAIN         CLINTONVILLE      WI    54929 6/16/2019
             STREET

       616   2541 SOUTH          SISTER BAY        WI    54234 6/16/2019
             BAY SHORE
             DRIVE

       617   N2585 PLAZA         WAUTOMA           WI    54982 6/16/2019
             ROAD

       618   1515 E. MAIN        REEDSBURG         WI    53959 6/16/2019
             STREET

       619   220 W LINCOLN       ADAMS             WI    53910 6/16/2019
             STREET

       620   810 N.              EAGLE RIVER       WI    54521 6/16/2019
             RAILROAD ST.

       621   717 E.              MANISTIQUE        MI    49854 6/16/2019
             LAKESHORE
             DRIVE

       623   890 RIVERSIDE       IRON RIVER        MI    49935 6/16/2019
             PLAZA




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       625   1201 12TH           DYERSVILLE        IA    52040 6/16/2019
             AVENUE SE

       626   1625 HIGHWAY        LANCASTER         WI    53813 6/16/2019
             61

       627   1008 E.             NEILLSVILLE       WI    54456 6/16/2019
             DIVISION

       628   1009 7TH            TWO HARBORS       MN    55616 6/16/2019
             AVENUE

       629   1500 E.             ELY               MN    55731 6/16/2019
             SHERIDAN
             STREET

       630   1625 E              ARCADIA           WI    54612 6/16/2019
             BLASCHKO
             AVENUE

       632   650 W.      SPOONER                   WI    54801 6/16/2019
             BEAVERBROOK
             AVE.

       633   1333 4TH            PARK FALLS        WI    54552 6/16/2019
             AVENUE
             SOUTH

       664   511 10TH AVE        HUMBOLDT          IA    50548 6/16/2019
             NORTH

       667   1501 PARK           SHELDON           IA    51201 6/16/2019
             STREET

       668   660 WEST            NEW HAMPTON       IA    50659 6/16/2019
             MILWAUKEE
             STREET

       670   615 DEARBORN        WAYNE             NE    68787 6/16/2019
             STREET

       671   819 11TH            WAUKON            IA    52172 6/16/2019
             AVENUE SW

       672   404 E.              O'NEILL           NE    68763 6/16/2019
             HIGHWAY 20



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       675   402 E. HWY 92       WINTERSET         IA    50273 6/16/2019

       680   1305 141ST          PERRY             IA    50220 6/16/2019
             STREET

       682   2099                HARLAN            IA    51537 6/16/2019
             CHATBURN
             AVENUE

       690   1533                HOLDREGE          NE    68949 6/16/2019
             BURLINGTON
             STREET

       695   2353 SOUTH E        BROKEN BOW        NE    68822 6/16/2019

       733   226 E. LINCOLN      FERGUS FALLS      MN    56537 6/16/2019

       735   190                 AITKIN            MN    56431 6/16/2019
             SOUTHGATE
             DRIVE

       736   727 15TH            VALLEY CITY       ND    58072 6/16/2019
             AVENUE SW

       738   300 JAKE            PERHAM            MN    56573 6/16/2019
             STREET

       739   710 COUNTY          GLENWOOD          MN    56334 6/16/2019
             ROAD 21 S

       740   116 EAST            MORRIS            MN    56267 6/16/2019
             STATE HWY 28

       744   1087 3RD            ROSEAU            MN    56751 6/16/2019
             STREET NW

       745   1140 E. 5TH         WINNER            SD    57580 6/16/2019
             STREET

       746   800 S.              MADISON           SD    57042 6/16/2019
             WASHINGTON
             AVENUE

       747   405 W.              LUVERNE           MN    56156 6/16/2019
             INTERSTATE
             DRIVE



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       748   1002 7TH            PIPESTONE         MN    56164 6/16/2019
             STREET SE

       750   2155 1ST            WINDOM            MN    56101 6/16/2019
             AVENUE N

       752   1100 EAST           TORRINGTON        WY    82240 6/16/2019
             VALLEY ROAD

       753   2701 HWY 18         HOT SPRINGS       SD    57747 6/16/2019
             WEST

       755   1701 16TH           WHEATLAND         WY    82201 6/16/2019
             STREET

       757   1 NORTH 5TH         BELLE             SD    57717 6/16/2019
             AVENUE              FOURCHE

       758   1950 E.             DOUGLAS           WY    82633 6/16/2019
             RICHARDS

       759   2105 LAZELLE        STURGIS           SD    57785 6/16/2019
             ST.

       761   205 BOYD            NEWCASTLE         WY    82701 6/16/2019
             AVENUE

       764   129 HARMONY         BUFFALO           WY    82834 6/16/2019
             ST.

       766   1950 W              SHELBY            MT    59474 6/16/2019
             ROOSEVELT
             HWY

       768   804 US HWY 2        GLASGOW           MT    59230 6/16/2019
             WEST

       772   1005 W              POWELL            WY    82435 6/16/2019
             COULTER
             AVENUE

       773   825 NE MAIN         LEWISTOWN         MT    59457 6/16/2019

       774   100                 LIVINGSTON        MT    59047 6/16/2019
             WASHINGTON
             STREET



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       775   31071 US            LIBBY             MT    59923 6/16/2019
             HIGHWAY 2

       786   801 N.              RED OAK           IA    51566 6/16/2019
             BROADWAY
             ST.

       790   409 JUNCTION        STANLEY           WI    54768 6/16/2019
             AVENUE

       792   79 HOMETOWN         TOMAHAWK          WI    54487 6/16/2019
             DRIVE

       795   1026 S.             SALMON            ID    83467 6/16/2019
             CHALLIS
             STREET

       796   301 SOUTH           KASSON            MN    55944 6/16/2019
             MANTORVILLE
             AVENUE




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